                         Case 1:13-cv-07789-LGS Document 1869 Filed 08/31/22 Page 1 of 4

                                             CAHILL GORDON & REINDEL LLP
                                                      32 OLD SLIP
                                                   NEW YORK, NY 10005
DANIEL R. ANDERSON          JONATHAN J. FRANKEL          TELEPHONE: (212) 701-3000      MEGHAN N. McDERMOTT          JOHN A. TRIPODORO
HELENE R. BANKS             ARIEL GOLDMAN                   WWW.CAHILL.COM              WILLIAM J. MILLER            GLENN J. WALDRIP, JR.
ANIRUDH BANSAL              PATRICK GORDON                    ___________               EDWARD N. MOSS               HERBERT S. WASHER
DAVID L. BARASH             JASON M. HALL                                               NOAH B. NEWITZ               MICHAEL B. WEISS
LANDIS C. BEST              STEPHEN HARPER                 1990 K STREET, N.W.          WARREN NEWTON §              DAVID WISHENGRAD
BRADLEY J. BONDI            WILLIAM M. HARTNETT         WASHINGTON, DC 20006-1181       DAVID R. OWEN                C. ANTHONY WOLFE
BROCKTON B. BOSSON          NOLA B. HELLER                    (202) 862-8900            JOHN PAPACHRISTOS            COREY WRIGHT
JONATHAN BROWNSON *         CRAIG M. HOROWITZ                                           LUIS R. PENALVER             ELIZABETH M. YAHL
DONNA M. BRYAN              TIMOTHY B. HOWELL        CAHILL GORDON & REINDEL (UK) LLP   KIMBERLY PETILLO-DÉCOSSARD   JOSHUA M. ZELIG
JOYDEEP CHOUDHURI *         DAVID G. JANUSZEWSKI          20 FENCHURCH STREET           SHEILA C. RAMESH
JAMES J. CLARK              ELAI KATZ                        LONDON EC3M 3BY            MICHAEL W. REDDY
CHRISTOPHER W. CLEMENT      JAKE KEAVENY                     +44 (0) 20 7920 9800       OLEG REZZY
LISA COLLIER                BRIAN S. KELLEHER                  ___________              THORN ROSENTHAL
AYANO K. CREED              RICHARD KELLY                                               TAMMY L. ROY
PRUE CRIDDLE ±              CHÉRIE R. KISER ‡            WRITER’S DIRECT NUMBER         JONATHAN A. SCHAFFZIN         * ADMITTED AS A SOLICITOR IN
                                                                                                                     ENGLAND AND WALES ONLY
SEAN M. DAVIS               JOEL KURTZBERG                                              ANDREW SCHWARTZ
                                                                                                                      ± ADMITTED AS A SOLICITOR IN
STUART G. DOWNING           TED B. LACEY                                                DARREN SILVER                WESTERN AUSTRALIA ONLY
ADAM M. DWORKIN             MARC R. LASHBROOK                                           JOSIAH M. SLOTNICK
ANASTASIA EFIMOVA           ALIZA R. LEVINE                                             RICHARD A. STIEGLITZ JR.      ‡ ADMITTED IN DC ONLY
JENNIFER B. EZRING          JOEL H. LEVITIN                                             ROSS E. STURMAN               § ADMITTED AS AN ATTORNEY
                                                                                                                     IN THE REPUBLIC OF SOUTH AFRICA
HELENA S. FRANCESCHI        GEOFFREY E. LIEBMANN                                        SUSANNA M. SUH               ONLY
JOAN MURTAGH FRANKEL        BRIAN T. MARKLEY                                            ANTHONY K. TAMA

                                                          (212) 701-3435

                                                                                                              August 30, 2022


                               Re:      In re Foreign Exchange Benchmark Rates Antitrust
                                        Litigation, Case No. 1:13-cv-07789-LGS

            Dear Judge Schofield:

                   We write on behalf of the Credit Suisse Defendants (“Credit Suisse”) to request that the
            Court adjourn the upcoming October 11, 2022 trial date.

                    The parties have met all pretrial dates set by the Court in its February 3, 2022 scheduling
            order (ECF No. 1653), as modified by the Court’s subsequent orders, and will continue to do so
            as to any remaining pretrial submissions. Neither party has ever previously sought an adjournment
            of the trial date. But Credit Suisse has several serious concerns about proceeding to trial on the
            current schedule.

                    First, the Court’s August 24, 2022 Order (the “Order”) states that “the parties will have 16
            hours each for opening statements, direct and cross, i.e., any time that counsel are on their feet
            other than summations” (32 total hours). (ECF No. 1840 at 2). As the Court is aware, the parties
            stated in a joint letter dated July 12, 2022 (ECF No. 1699) that they together expected the
            presentation of their cases in chief to take 22 days (110 hours), not including cross-examination,
            which would likely take a nearly equivalent amount of time.

                    As the Court knows, Plaintiffs filed this case in 2013 and the parties spent years developing
            a massive discovery record. Plaintiffs allege a global conspiracy among 16 of the world’s largest
            banks to manipulate spreads in 52 foreign exchange currency pairs in a five-trillion-dollar-per-day
            market over a period of many years. Plaintiffs have previously stated on multiple occasions that
            they believe damages claims of class members could amount to $8-10 billion before trebling.
            Settling Defendants have paid a collective $2.3 billion in settlements, further underlining the
            seriousness and magnitude of the issues presented. In view of these facts, Credit Suisse does not
         Case 1:13-cv-07789-LGS Document 1869 Filed 08/31/22 Page 2 of 4
CAHILL GORDON & REINDEL LLP


                                                 -2-



believe that a trial of a case of this size and complexity can be conducted in the time allowed
consistent with its due process rights.

        The Order came only two days before the parties were due to submit their joint proposed
final pretrial order on August 26, 2022. The parties have been working for many months to prepare
a case that will now be dramatically reshaped by the time limitations contained in the Order. For
example, on June 3, 2022, in preparation for the pretrial order filing, Plaintiffs sent Credit Suisse
a draft exhibit list that included 2,940 exhibits and draft deposition designations comprising 38
hours of video testimony. Credit Suisse then worked to prepare objections and rebuttal evidence
to defend the case Plaintiffs were preparing to prosecute. Because the parties’ pretrial order work
contemplated a 200 hour (6-8 week) trial, the Court’s Order that the trial must now be completed
in less than 20 percent of that time will require major changes to both sides’ trial presentations,
including witness lists, exhibit lists, and deposition designations.

        Credit Suisse will of course work as expeditiously as possible to recalibrate its trial
presentation to conform to the Court’s Order. But the reality is that the pretrial schedule was
already extremely aggressive given the number of open questions on fundamental evidentiary
issues and the jury verdict form (discussed below).

         Second, the parties have diametrically opposing positions regarding the appropriate jury
verdict form and have raised their respective positions for resolution by the Court (ECF Nos. 1821,
1829). The Court has ordered the parties to include any objections to the Court’s proposed verdict
form in their responses to the pretrial memoranda. (ECF No. 1842 at 2). Until the parties have
the benefit of a ruling on the verdict form to be used, key aspects of their trial presentations,
including witness and exhibit lists and demonstrative exhibits, cannot be finalized. In addition,
although the Court has ordered the parties to “meet and confer and file joint proposed jury
instructions” by September 9 (ECF No. 1840 at 2), Credit Suisse is concerned that the parties
cannot productively meet and confer as to many of the substantive, case-specific jury instructions
until after the Court rules on the verdict form issue, which will necessarily inform the nature of the
case to be tried.

        Third, the parties collectively have filed 19 motions in limine and Daubert motions to
exclude certain expert evidence. Several of these motions relate to fundamental aspects of how
Plaintiffs will prosecute the case at trial and how Credit Suisse will defend it. For example, Credit
Suisse has sought to preclude testimony on guilty pleas and regulatory settlements, discussion of
which pervades not only Plaintiffs’ exhibit list but also Plaintiffs’ deposition designations and
Credit Suisse’s counter-designations. The Court’s rulings on these evidentiary issues could
dramatically reshape both sides’ exhibit lists and witness presentations.1 The same is true as to
motions in limine relating to Fifth Amendment assertions, extraterritorial activity, and many other

1
 If other banks’ guilty pleas and regulatory settlements were admitted, for example, then Credit Suisse
would need to spend multiple hours examining representatives from some or all of those banks to explain
why those pleas and settlements do not bear on the conspiracy alleged here.
         Case 1:13-cv-07789-LGS Document 1869 Filed 08/31/22 Page 3 of 4
CAHILL GORDON & REINDEL LLP


                                                  -3-



issues. Although the Court has ordered that the parties file, by September 9, “a revised exhibit list
reflecting any additional exhibits that can be pre-admitted based on the parties’ discussions,” (ECF
No. 1840 at 2), and while Credit Suisse will continue to meet and confer with Plaintiffs in an effort
to reach such agreements where possible, Credit Suisse does not believe agreements on key
admissibility matters can realistically be reached before the Court decides the motions in limine.

        Credit Suisse is cognizant that the evidentiary issues raised by the motions in limine are
varied and complex, and appreciates that the Court will take the time to carefully consider the
arguments raised therein. Given the short time remaining, however, Credit Suisse is concerned
that receiving rulings days or weeks before trial could prejudice it in unpredictable ways and would
not provide the parties with sufficient time to effectively meet and confer and to raise remaining
evidentiary objections for resolution by the Court in an efficient and orderly fashion.

        Fourth, the Court has indicated that it will imminently decide Credit Suisse’s motion to
decertify the class. (ECF No. 1840 at 1). The Court’s decision could fundamentally reshape
multiple aspects of the parties’ trial preparations. For instance, if the Court were to deny Credit
Suisse’s motion but clarify how it envisions the issues in a class trial could be adjudicated without
raising Seventh Amendment reexamination concerns, one or both parties would almost certainly
need to modify their trial presentations, proposed jury instructions, and proposed verdict forms to
account for the Court’s guidance.

        For all these reasons, Credit Suisse respectfully requests that the Court adjourn the October
11, 2022 trial date to a future date that will permit an orderly and fair pretrial process. If the Court
is so inclined, we would of course be pleased to join a conference to discuss these issues, and a
revised trial schedule, at the Court’s convenience. Credit Suisse has discussed the request herein
with Plaintiffs and understands Plaintiffs do not agree.


                                                        Respectfully submitted,

                                                        CAHILL GORDON & REINDEL LLP

                                                        /s/ Herbert S. Washer
                                                        Herbert S. Washer
                                                        32 Old Slip
                                                        New York, NY 10005
                                                        Telephone: 212-701-3000
                                                        hwasher@cahill.com

                                                        Attorney for Defendants Credit Suisse Group
                                                        AG, Credit Suisse AG, and Credit Suisse
                                                        Securities (USA) LLC
              Case 1:13-cv-07789-LGS Document 1869 Filed 08/31/22 Page 4 of 4
     CAHILL GORDON & REINDEL LLP


                                                     -4-



     Honorable Lorna G. Schofield
     United States District Judge
     Thurgood Marshall U.S. Courthouse
     40 Foley Square
     New York, NY 10007

     VIA ECF

     cc: All Counsel of Record (via ECF)


Application DENIED. The trial will begin as scheduled on October 11, 2022. All parties have been
aware of the trial date and pretrial deadlines for months. The Court appreciates the immense work
that has gone into discovery in this action but is skeptical that presenting such a massive amount of
evidence to the jury would facilitate the truth-seeking function of the trial, rather than confuse the
issues with extraneous details. A focused presentation of the most important evidence on both sides
will clarify rather than obscure the issues for the jury to decide.

To that end, prior to or in the course of the meeting and conferring regarding objections to exhibits to
narrow their disputes, the parties shall streamline their exhibit lists to only those exhibits the parties
genuinely intend to use at trial. See the Court's Individual Rule IV.B.6. With respect to deposition
designations, the parties shall advise the court by 12:00 p.m. two trial days in advance of their
intention to present particular deposition testimony to the jury so that the Court can rule on any
challenged deposition designations. Concurrent with that advice, the parties shall re-send to the Court
the relevant transcript portions marked according to the Court's Individual Rule IV.B.2.g.

Dated: August 31, 2022
New York, New York
